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 9    Interim Class Counsel
10    [Additional Counsel Appear on Signature Page]
11

12
                                UNITED STATES DISTRICT COURT
13                            NORTHERN DISTRICT OF CALIFORNIA
                                     OAKLAND DIVISION
14
      IN RE GOOGLE RTB CONSUMER                       CASE NO. 4:21-CV-02155-YGR-VKD
15    PRIVACY LITIGATION
16
                                                      DECLARATION OF ELIZABETH C.
17                                                    PRITZKER IN SUPPORT OF
      This document applies to all actions.           PLAINTIFFS’ MOTION FOR CLASS
18                                                    CERTIFICATION
19

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                                                                     Case No. 4:21-cv-02155-YGR-VKD
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 1          I, Elizabeth C. Pritzker, hereby declare as follows:
 2          1.      I am a partner of Pritzker Levine LLP, and an attorney licensed in the State of
 3 California and duly admitted to practice before this Court. On August 3, 2021, I was appointed to

 4 serve as Interim Class Counsel on behalf of plaintiffs. See ECF 77. This declaration is made in

 5 support of Plaintiffs’ Motion for Class Certification. I have personal knowledge of the facts stated

 6 herein and, if called upon to do so, could and would testify competently thereto.

 7                                   LIMITED DISCOVERY RECORD
 8          2.      Plaintiffs have timely complied with the Court’s scheduling order, requiring that
 9 plaintiffs’ motion for class certification be filed on July 14, 2023, which date was extended from

10 May 23, 2023 by stipulation of the parties. ECF 530, 534. While timely, plaintiffs’ motion for

11 certification is being brought on a limited discovery record.

12          3.      When the parties last appeared before the Court on June 1, 2022, Google had at that
13 time, one year into the litigation, produced roughly 51,175 documents—a production volume the

14 Court then described as “nothing” in a complex, document-intensive, and data-driven case such as

15 this. See June 1, 2022 Hr’g. Tr. at 12:13-15. ECF 226.

16          4.      In the thirteen months since, Google has increased its production by only 6,418
17 additional documents – including 116 documents containing internal Google Real Time Bidding

18 (“RTB”) data related to the seven named plaintiffs, and 86 documents recently produced on July 6,
19 2023 to add to Google’s production of its published U.S. Terms of Service, Privacy Policies, and

20 related disclosures. This brings Google’s production total, after two years of litigation, to just 57,462

21 documents today.

22          5.      Plaintiffs have not been idle. On the contrary, efforts to obtain discovery to support
23 plaintiffs’ class certification motion have been earnest and they have been hard fought. The Court’s

24 docket presently contains 22 separate entries reflecting discovery briefing (and compliance or

25 follow-on briefing) to Magistrate Judge DeMarchi by plaintiffs for the period February 1, 2022

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28
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 1 through June 5, 2023, on topics ranging from the identity of sources of relevant information 1, to 0F




 2 class membership and class damages 2, data about the named plaintiffs in Google’s records 3,
                                             1F                                                            2F




 3 discovery deficiencies 4, privilege assertions 5, and other matters. And, as of the date of this motion,
                            3F                    4F




 4 the parties are meeting and conferring in advance of additional discovery briefing to be filed by

 5 plaintiffs in the coming weeks.

 6            6.     Google has represented to counsel and this Court that it has preserved and is

 7 maintaining relevant and responsive class information. See ECF 68 at 7. But, generally speaking,

 8 Google has thus far refused to produce classwide data and information in this litigation, asserting

 9 that such data and information is not proportional to the needs of the case. See, e.g. ECF 291 (In
10 which Google argues, “…the event-level data reflecting the total auction revenue for every user is

11 vastly overbroad, and not relevant to quantifying the value of data shared with third parties. Even a

12 tiny fraction of this data would be utterly disproportionate.”). Google has refused to tell plaintiffs

13 what class information is being preserved and for what period of time, and has refused to provide

14 plaintiffs with some of the most basic information pertaining to the class, such as: the number of

15 unique individual active U.S. Google accounts during the class period; the average daily number of

16 bid requests and bid queries transmitted in the U.S. through Google RTB; information about Google

17 account maintenance; and the locations of Google’s two RTB servers in the U.S. (even though this

18 latter information is published by Google).

19

20
     1
     See ECF 157, 191 (Google search terms, custodians and noncustodial sources), 141, 336 (Google
21 RTB data sources/architecture), and 464, 506 (hyperlinked documents, dashboards and source code
   change documentation). See also Dep. Trans. of George Levitte (Director of Project Management,
22 Google New York) at 72:18-78:7 92:2-11, 157:6-158:24, 171:7-17, 204:17-24 (testifying as to

23 existence of internal “dashboards” and external interfaces” or (“UI”) as sources of information about
   Google’s RTB business, including RTB revenue information), Ex. 17 hereto.
24 2 See ECF 171, 291 (number of Google Account holders/class membership, Google RTB revenues

25 & costs, damages discovery).
   3
     See ECF 171 (Google RTB revenues associated with plaintiffs), and 269, 365, 429, 430, 430, 503,
26 536-3 (Google RTB data fields pertaining to plaintiffs).
     4
27    See ECF 463 (hyperlinked and 2022 documents for Google custodians Bernston and Belov, and
     motion for further deposition of Mr. Belov in light of production deficiencies).
28   5
         See ECF 330, 339, 404.
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 1            7.      Google also has represented to counsel and this Court that it has preserved and is

 2 maintaining relevant and responsive information pertaining to the seven named plaintiffs and their

 3 claims. See, for example, ECF 69 at 7. Again, however, Google has refused to produce all relevant

 4 data pertaining to these seven individuals, once again asserting that producing all such data is not

 5 proportional to the needs of the case. See, e.g., Aug. 23, 2022 Hr’g. Tr. at 23, 83, 130; see also

 6 Google’s Objections and Responses to Plaintiffs’ Seventh Set of Requests for Production of

 7 Documents, RFP 117 (specifically objecting to plaintiffs’ request for “documents pertaining…to

 8 each of the named plaintiffs, including all data fields associated with each named plaintiff in

 9 connection with Google’s RTB platform”, for the period Jan. 1, 2022 to April 20, 2023, asserting
10 the request is “overly broad, seeks irrelevant information, is unduly burdensome, and is not

11 proportional to the needs of the case,” among other objections, and stating that “Google has not

12 conducted and will not conduct searches for responsive documents, and as a result, will not produce

13 documents in response to this Request.”) A true and correct copy of Google’s June 29, 2023

14 Objections to Request for Production No. 117 is attached as Exhibit 27 hereto.

15            8.      After multiple rounds of motion practice, including as least one compliance motion
16 and a sanctions motion, Judge DeMarchi has to date issued seven orders that collectively require

17 Google to produce from its Google RTB logs certain core Google RTB data fields, as maintained at

18 Google in the ordinary course, for each of the named plaintiffs, but only for a total of twelve one-

19 week periods of the class period (i.e., from June 28, 2016 to present). 6 In at least one such order,
                                                                            5F




20 Judge DeMarchi ordered that Google ensure its time-sampled production be “representative” in time

21 and in scope of the data Google regularly maintains in its Google RTB logs. See ECF 483 at 2.

22 Google, however, has only produced named plaintiff data in response to the Court’ orders for eight

23 of the twelve weeks, claiming that the data does not exist for the other four weeks, which are earlier

24 in the class period. Google has refused all efforts to date by plaintiffs to engage in meaningful

25 discussions about (i) the lack of named plaintiff data for earlier in the class period, (ii) potential

26 spoliation of relevant evidence pertaining to plaintiffs and the class, and (iii) Google’s document

27

28   6
         See ECF 314, 382, 481, 483, 485, 487, 510.
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 1 retention efforts relating to this action.

 2          9.      Certain recent orders by Judge DeMarchi governing the named plaintiff Google RTB

 3 data fields that Google must produce issued on April 14 (ECF 81, 483, 485, 487) and May 17, 2023

 4 (ECF 510), respectively. In meet and confer discussions with Google’s counsel about the scope and

 5 timing of these productions on April 25, counsel for Google represented to plaintiffs that Google

 6 would begin rolling productions of the required data, but would not be able to complete those

 7 productions until May 26, 2023 – or possibly later. This meant that plaintiffs and their experts would

 8 not have the highly-relevant, court-ordered data associated with Google RTB’s activities involving

 9 the named plaintiffs until after the previously-ordered May 23, 2023 class certification deadline.
10          10.     Plaintiffs and Google stipulated to an extension of the class certification, from May

11 23, 2023 to July 14, 2023, to allow Google to make its court-ordered productions of named plaintiff

12 data, and afford plaintiffs and their experts time to evaluate those productions for class certification.

13 See ECF 530, 534.

14          11.     While Google has produced additional named plaintiff data in response to Judge

15 DeMarchi’s recent discovery orders, the production remains deficient in material respects. Plaintiffs

16 identified these deficiencies to Google, which again, has not responded.

17          12.     Damages discovery has been similarly limited. Google has, to date, produced a single

18 excel spreadsheet (containing one line) that shows gross RTB revenues during part, but not all, of

19 the class period. Google has also, to date, produced a single excel spreadsheet (also containing one

20 line) that purports to show some of Google’s costs during part, but not all, of the class period. The

21 costs spreadsheet does not appear to tie in to the gross revenue spreadsheet. No backup for either

22 document has been provided and Google has refused to explain where the information used to create

23 these documents came from.

24          13.     Finally, with respect to the location of Google’s activities in connection with

25 plaintiffs’ claim under the California Information Privacy Act, Cal. Pen. Code § 631, the Court

26 directed Google to produce any proof that at least one RTB recipient or publisher received the

27 communications at issue while they were not located in California. MTD Order (ECF 233) at 17:10-

28 16. Google never produced any such proof in response to the Court’s Order.

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 1       MATERIALS SUBMITTED WITH PLAINTIFFS’ CLASS CERTIFICATION MOTION

 2          14.      Google’s Representations, Terms Of Service, And Privacy Policies: The core

 3 common representations by Google to its account holders during the relevant class period that

 4 Google does not share or sell their personal information, and upon which plaintiffs rely for purposes

 5 of class certification, are excerpted and complied in the accompanying Declaration of Bethany

 6 Caracuzzo in Support of Plaintiffs’ Motion for Class Certification, filed concurrently herewith.

 7          15.      Expert Reports: Plaintiffs’ experts prepared their analyses and class certification

 8 expert reports relying on the limited, representative plaintiff data, and documents produced by

 9 Google, that were available to the experts at the time of the filing of this motion. True and correct
10 copies of plaintiffs’ expert reports in support of class certification are attached here to as follows:

11                a. Exhibit 1 hereto is a true and correct copy of the Expert Class Certification Report
12                   of Professor Zubair Shafiq, Ph.D. Professor Shafiq’s Curriculum Vitae is attached as

13                   Exhibit A thereto. The materials Professor Shafiq considered for his analysis and the

14                   preparation of his report, which include certain data and documents produced by

15                   Google to date, are attached as Exhibit B thereto.

16                b. Exhibit 2 hereto is a true and correct copy of the Expert Class Certification Report

17                   of Professor Christopher Wilson, Ph.D. Professor Wilson’s Curriculum Vitae is

18                   attached as Exhibit A thereto, and the materials he considered for the preparation of

19                   his analysis and report, which include certain data and documents produced by

20                   Google to date, and some third parties, are attached as Exhibit B to his report.

21                c. Exhibit 3 hereto is a true and correct copy of the Expert Class Certification Report

22                   of Professor Robert Zeithammer, Ph.D. Professor Zeithammer’s Curriculum Vitae is

23                   attached as Appendix 1 to his report, a list of his testimony over the past four years

24                   is attached as Appendix 2, and a list of materials he considered for his analysis and

25                   the preparation of his report, which include certain data and documents produced by

26                   Google to date, is attached as Appendix 3 to his report.

27                d. Attached as Exhibit 4 hereto is a true and correct copy of the Expert Class

28                   Certification Report of Greg Regan, CPA/CFF, CFE of Hemming Morse, LLP. Mr.

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 1                   Regan’s qualifications and a list describing the testimony he has given over the past

 2                   five years is attached as Appendix A to his report. A list of materials he considered

 3                   for his analysis and the preparation of his report, which include certain data and

 4                   documents produced by Google to date, is attached as Appendix B to his report.

 5                e. Attached as Exhibit 5 hereto is a true and correct copy of the Expert Class

 6                   Certification Report of Professor Neil Richards. Professor Richards’ qualifications,

 7                   publications and his Curriculum Vitae are attached as Appendix A to his report. A

 8                   list of materials he considered for his analysis and the preparation of his report, which

 9                   include certain data and documents produced by Google to date, is attached as
10                   Exhibit B to his report.
11
             THE PLAINTIFFS ARE TYPICAL OF THE CLASS AND WILL FAIRLY AND
12                        ADEQUATELY REPRESENT THE CLASS
13          16.      The plaintiffs are typical of the proposed class, and their adequacy is more than
14 demonstrated by their involvement in prosecuting the class claims thus far.

15          17.      The plaintiffs are not adverse to each other or to other proposed class members. They
16 are all similarly interested in obtaining valuable relief from Google.

17          18.      Each plaintiff is motivated to act, has acted, and will continue to act on behalf of the
18 unnamed members of the proposed class. As shown in discovery produced in the litigation, and in

19 their depositions, the plaintiffs are all individuals residing in the United States who created a Google

20 account to access certain Google products and who, from June 28, 2016 forward, used or use their

21 web browsers or apps on their smartphones to request, obtain, and view on-line information and

22 audio-visual media, including materials from publishers for which they are subscribers. See

23 Complaint , ¶¶ 39-40, 45-46, 49-50, 53-58, 65-66, 70. ECF 92.

24          19.      All of the plaintiffs are Google account holders subject to Google’s U.S. Terms of
25 Service and Google Privacy Policies. Their respective Google account creation dates, as reflected

26 in documents and data produced by Google, are listed below:

27

28

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 1                 Plaintiff             Date of Google Account       Evidence Produced by Google
                                                 Creation
 2        Rethena Green                        2006-10-14               GOOG-HEWT-00455593
          John Kevranian                       2010-09-24               GOOG-HEWT-00455543
 3        Christopher Valencia                 2009-10-28               GOOG-HEWT-00455560
          Terry Diggs                          2014-09-11               GOOG-HEWT-00455623
 4        Salvatore Toronto                    2013-10-17               GOOG-HEWT-00455615
 5        Tara Williams                        2013-05-15               GOOG-HEWT-00455569
          Kimberley Woodruff                   2020-01-06               GOOG-HEWT-00455552
 6

 7 As such, all plaintiffs were subject to Google’s representations and promises not to share or sell

 8 their personal information, as well as Google’s promises not to share personally identifies them with

 9 advertisers, and not to “use topics or show personalized ads based on sensitive categories like race,
10 religion, sexual orientation, or health” during the relevant class period, identified in plaintiffs’

11 moving papers as June 28, 2016 to the present. See also Caracuzzo Decl., ¶¶ 31-37, filed herewith.

12          20.     Based on analyses of the limited, representative data produced by Google to date,

13 plaintiffs’ experts attest in their accompanying expert reports that all seven plaintiffs had their user

14 data repeatedly shared and sold by Google through the RTB auction process in an automated manner

15 that is common to all class members. See Expert Class Certification Report of Zubair Shafiq, PhD,

16 ¶¶ 12, 13, 15, 35-46, and evidence cited therein. Frequently, this involved sensitive information

17 being viewed by the plaintiffs, such as websites involving health matters, political views, and their

18 precise geolocation, being shared with third party companies that participate in Google RTB Id.,

19 ¶¶ 22, 35, 40, 42, 46, and evidence cited therein.

20          21.     Each of the named plaintiffs has reviewed pleadings, responded to written discovery,

21 produced documents and ESI, have worked with counsel, and have kept themselves apprised of the

22 litigation, and all except one have testified at several-hours-long depositions. Excerpts of testimony

23 from depositions of the named plaintiffs demonstrating their typicality and adequacy follow:

24                  a.         Attached as Exhibit 6 is a true and correct copy of relevant excerpts of the

25                             deposition of named plaintiff Terry Diggs, showing typicality: 44:20-22,

26                             78:4-23, 65:3-7, 74:16-22, 214:24-215:11; and adequacy: 27:9-14, 195:9-18,

27                             85:21-86:15, 87:4-17, 98:1-99:21, 122:13-123:25, 126:1-16, 130:25-131:15,

28

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 1                     132:2-17, 162:15-163:4, 179:4-11, 183:24-185:14, 211:15-212:8, 213:15-

 2                     216:20;

 3               b.    Attached as Exhibit 7 is a true and correct copy of relevant excerpts of the

 4                     deposition of named plaintiff Rethena Green, showing typicality: 40:10-20,

 5                     42:2-47:4, 55:11-56:25, 76:14-77:25, 93:13-98:15, 107:4-113:18, 119:9-

 6                     128:9, 130:1-133:25, 138:3-141:22: 159:3-162:16, 207:15-208:22; and

 7                     adequacy: 16:14-21:20, 107:4-113:18; 119:9-128:12, 237:7-238:13.

 8               c.    Attached as Exhibit 8 is a true and correct copy of relevant excerpts of the

 9                     deposition of named plaintiff John Kevranian showing typicality: 20:4-21:22,
10                     49:2-25, 55:13-56:24, 62:17-63:23, 65:11-19, 70:11-25, 82:2-25, 136:3-21,

11                     207:2-21, 210:13-213:23; and adequacy: 13:4-19, 17:25–18:24, 35:3–36:9,

12                     38:11–41:20, 43:19-25, 60:4–17, 65:11–67:12, 70:11-25, 104:11-105:17,

13                     111:14-24, 128:3-13, 129:2-19, 172:16-173:16, 187:6–188:24, 202:16-

14                     203:17, 207:2-208:25, 210:13-213:23, 226:14–227:25.

15               d.    Attached as Exhibit 9 is a true and correct copy of relevant excerpts of the

16                     deposition of named plaintiff Salvatore Toronto showing typicality: 73:1-

17                     78:24, 83:9–86:19, 88:9–15, 88:16-89:19, 94:18-98:11, 117:16–25, 132:20-

18                     135:7, 137:9–138:23, 153:25-157:20, 167:9-168:14, 182:5-23, 208:3–

19                     210:12, 217:14-218:5, 230:7-19; and adequacy: 40:16-41:1, 52:5-21, 57:15-

20                     58:19, 62:1-6, 62:22-69:17, 94:18-98:11, 135:23-136:24, 149:11-151:25,

21                     155:15-20; 156:6-25; 157:12-20; 175:6-15, 197:3-200:25, 230:7-19, 278:11-

22                     280:2.

23               e.    Attached as Exhibit 10 is a true and correct copy of relevant excerpts of the

24                     deposition of named plaintiff Christopher Valencia showing typicality: 28:5-

25                     19, 37:9-41:1, 68:15-70:24, 89:6-105:23, 107:1-117:22, 156:11-157:4,

26                     183:11-185:20, 289:8-292:10, 295:10-196:6; and adequacy: 9:23-19:5 21:1-

27                     23:23, 26:23-28:4, 119:18-134:24, 143:8-145:2, 301:12-302:7.

28

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 1                   f.      Attached as Exhibit 11 is a true and correct copy of relevant excerpts of the

 2                           deposition of named plaintiff Kimberley Woodruff showing typicality: 71:3-

 3                           8, 73:18-74:18; and adequacy at: 24:4-14, 25:9-11, 31:24-33:11, 34:211-

 4                           35:14, 36:2-20, 38:12-23, 40:10-20, 54:25-55:16, 58:2-7, 125:15-22, 133:19-

 5                           135:22, 172:15-173:1, 177:20-178:8, 178:16-24, 179:17-180:10, 181:12-14.

 6           22.     Prior to bringing this motion, plaintiffs have made plaintiff Tara Williams available

 7 for deposition on several dates, none of which were accepted by Google. Google only recently has

 8 requested deposition dates for Ms. Williams for time periods following the filing date of plaintiffs’

 9 class certification motion. As necessary to supplement the record, plaintiffs will provide transcript
10 excerpts of Ms. Williams deposition on reply.

11             SPECIFIED DISCOVERY PRODUCED BY GOOGLE SUPPORTING CLASS
                                     CERTIFICATION
12
             23.     Although Google’s production to date has been limited, plaintiffs’ experts have
13
      considered certain documents and data produced by Google in this action as part of their
14
      engagements in this matter. Each expert identifies such discovery in the “Materials Considered”
15
      appendix to his respective expert report.
16
             24.     In addition to the materials considered by plaintiffs’ experts, plaintiffs submit the
17
      following in support of their motion for class certification:
18
                     a. Attached as Exhibit 12 is a true and correct copy of GOOG-HEWT-00349634,
19
                          which is a document produced by Google that includes an analysis of Google’s
20
                          top spenders in Google RTB for a specified period in May 2018. This document
21
                          was created from a tab entitled “Results” from a native Excel document produced
22
                          by Google. This document was produced by Google with a Highly Confidential
23
                          designation and is therefore lodged under seal.
24
                     b. Attached as Exhibit 13 is a true and correct copy of GOOG-HEWT-00455800,
25
                          a document prepared and produced by Google containing information about the
26
                          aggregate number of U.S.-based account holders, on an annual basis, during the
27
                          time period March 25, 2016 and October 12, 2022. This document was produced
28

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 1                  by Google with a Highly Confidential – Attorneys’ Eyes Only designation and is

 2                  therefore lodged under seal.

 3               c. Attached as Exhibit 14 is Google’s verified responses to Interrogatory No. 12,

 4                  describing the data in GOOG-HEWT-00455800 (Ex. 13) as accounts associated

 5                  with U.S.-based account holders who were active on select Google products

 6                  (including Search, YouTube, and many more) at least once during the time

 7                  period, excluding deleted accounts, for the period between March 25, 2016 and

 8                  October 12, 2022. See p. 7.

 9               d. Attached as Exhibit 15 is a true and correct copy of GOOG-HEWT-00455648,
10                  a document prepared and produced by Google in this matter, a document that was
11                  produced by Google in discovery with a Highly Confidential – Attorneys’ Eyes
12                  Only designation and is therefore lodged under seal. Google’s verified response
13                  to Interrogatory No. 11 (Ex. 14), describes GOOG-HEWT-00455648 as data
14                  which, for the row “’US User Total’ includes gross revenue from Authorized
15                  Buyers and Open Bidding Partners generated by advertisements displayed to US
16                  Users….”
17               e. Attached as Exhibit 16 is a true and correct copy of GOOG-HEWT-00000767,
18                  produced by Google in this action, which discusses content labels, and which is
19                  a public document. Plaintiffs’ expert, Professor Zubair Shafiq, PhD, discusses
20                  this document in his report. See Shafiq Rep. ¶ 42b.
21               f. Attached as Exhibit 17 are true and correct copies of excerpts of the April 23,
22                  2023 deposition of Google employee George Levitte, which transcript has been
23                  designated Highly Confidential – Attorneys’ Eyes Only by Google and the
24                  excerpts are therefore lodged under seal.
25               g. Attached as Exhibit 18 are true and correct copies of excerpts of the December
26                  8, 2022 deposition of Google employee Glenn Berntson, which transcript was
27                  designated Confidential by Google and the excerpts are therefore lodged under
28                  seal.

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 1               h. Attached as Exhibit 19 is a true and correct copy of GOOG-HEWT-00456419,

 2                  which was marked as Exhibit 15 to the deposition of Google employee Haskell

 3                  Garon, and which document was designated Highly Confidential – Attorneys’

 4                  Eyes Only by Google and is therefore lodged under seal.

 5               i. Attached as Exhibit 20 is a true and correct copy of GOOG-HEWT-0098506,

 6                  dated October 8, 2018 – a document that was produced by Google in discovery

 7                  with a Confidential designation and is therefore lodged under seal.

 8               j. Attached as Exhibit 21 is a true and correct copy of GOOG-HEWT-00481219,

 9                  last updated in August 2019 – a document that was produced by Google in
10                  discovery with a Highly Confidential – Attorneys’ Eyes Only designation and is
11                  therefore lodged under seal.
12               k. Attached as Exhibit 22 is a true and correct copy of GOOG-HEWT-0048125,
13                  entitled “Strat Paper” and last modified on May 13, 2020– a document that was
14                  produced by Google in discovery with a Highly Confidential – Attorneys’ Eyes
15                  Only designation and is therefore lodged under seal.
16               l. Attached as Exhibit 23 is a true and correct copy of GOOG-HEWT-00480493,
17                  last modified on August 26, 2020 – a document that was produced by Google in
18                  discovery with Confidential designation and is therefore lodged under seal.
19               m. Attached as Exhibit 24 is a true and correct copy of GOOG-HEWT-00099180,
20                  dated September 24, 2020—a document that was produced by Google in
21                  discovery with a Confidential designation and is therefore lodged under seal.
22               n. Attached as Exhibit 25 is a true and correct copy of GOOG-HEWT-00330759,
23                  bearing the description of “Comments” to an internal Google paper, dated June
24                  28,201– a document that was produced by Google in discovery with Confidential
25                  designation and is therefore lodged under seal.
26               o. Attached as Exhibit 26 is a true and correct copy of GOOG-HEWT-0035713, a
27                  document that was produced by Google in discovery with a Highly Confidential
28                  – Attorneys’ Eyes Only designation and is therefore lodged under seal.

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 1                   p. As noted in paragraph 7 above, attached as Exhibit 27 hereto is a true and correct

 2                       copy of Google’s June 29, 2023 Objections to Request for Production No. 117.

 3
             PLAINTIFFS’ CLASS COUNSEL WILL ADEQUATELY PRESENT THE CLASS
 4                      THROUGHOUT THE LITIGATION AND AT TRIAL
 5
             25.     On August 3, 2021, I was appointed Interim Class Counsel and Lesley E. Weaver of
 6
      Bleichmar Fonti & Auld LLP, Jason Barnes of Simmons Hanley Conroy LLC, David A. Straite of
 7
      DiCello Levitt LLC, Nanci Nishimura of Cotchett, Pitre & McCarthy, LLP, and Francis A. Bottini,
 8
      Jr., of Bottini & Bottini, Inc were appointed to the Plaintiffs’ Executive Committee. ECF 77. These
 9
      firms and lawyers now seek to be collectively appointed as Class Counsel, with Yury A. Kolesnikov
10
      of the law firm of Bottini & Bottini, Inc., substituting for Francis A. Bottini, and with Elizabeth C.
11
      Pritzker of Pritzker Levine LLP, serving in the role as Lead Class Counsel.
12
             26.     All of these attorneys and their law firms have decades of experience litigating
13
      privacy class actions and complex litigation matters, including through trial.
14
             27.     As demonstrated in their submissions in connection with their application for
15
      appointment as interim lead counsel (ECF 75), and in their firm resumes described below and
16
      attached hereto, proposed Class Counsel are experienced class action litigators with substantial
17
      knowledge of the law and claims in this case. They have undertaken significant investigation and
18
      prosecution of the claims and committed substantial resources on behalf of the proposed class.
19
             28.     Since the commencement of this litigation, proposed Class Counsel and the
20
      Plaintiffs’ Executive Committee have developed and zealously litigated this matter for the benefit
21
      of Google account holders nationwide, including:
22
                     a. Developing the theory of the case;
23
                     b. Hiring and coordinating with experts who have worked over the course of over a
24
                         year to develop opinions including technical opinions and analysis regarding
25
                         Google’s actions with respect to the Google RTB auction process and how
26
                         Google RTB works, damages on a class wide basis, and the impacts on privacy;
27
                     c. Coordinating the ongoing review of documents produced by Google and third
28
                         parties;

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 1                   d. Collecting plaintiffs’ data including reviewing thousands of plaintiffs emails and

 2                       collecting screenshots and other types of device data as requested by Google;

 3                   e. Issuing third-party subpoenas and conferring with counsel for those third parties

 4                       for compliance;

 5                   f. Serving written discovery, writing letters, and conducting dozens of meet and

 6                       confer Zoom meetings with Google counsel;

 7                   g. Researching, preparing and filing over 30 motions and the related sealing

 8                       motions that Google’s confidentiality designations require;

 9                   h. Preparing for and taking the depositions of Google employees;
10                   i. Preparing for and defending the named plaintiff depositions.
11           29.     Attached as Exhibit 28 hereto is a true and correct copy of the firm resume of

12 Pritzker Levine LLP.

13           30.     Attached as Exhibit 29 hereto is a true and correct copy of the firm resume of

14 Bleichmar Fonti & Auld LLP.

15           31.     Attached as Exhibit 30 hereto is a true and correct copy of the firm resume of

16 Cotchett Pitre & McCarthy LLP.

17           32.     Attached as Exhibit 31 hereto is a true and correct copy of the firm resume of

18 Simmons Hanley Conroy LLC.

19           33.     Attached as Exhibit 32 hereto is a true and correct copy of the firm resume of

20 DiCello Levitt LLC.

21           34.     Attached as Exhibit 33 hereto is a true and correct copy of the firm resume of Bottini

22 & Bottini, Inc.

23          PLAINTIFFS PROPOSE A MANAGEABLE TRIAL PLAN UTLIZING COMMON
            CLASSWIDE EVIDENCE ADDRESSING COMMON CLAIMS AND DEFENSES
24
             35.     As previously noted, plaintiffs’ class certification motion is being brought on a
25
      limited discovery record. As the case approaches trial, plaintiffs will wish to confer with the Court
26
      on a timeline for completing merits discovery, and the scope of such discovery, that will allow for
27

28

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 1 a full and fair presentation of the following six claims 7 for which plaintiffs seek class-wide
                                                                   6F




 2 treatment:

 3           (i)     breach of contract;

 4           (ii)    breach of confidence;

 5           (iii)   invasion of privacy;

 6           (iv)    intrusion upon seclusion;

 7           (v)     publication of private facts;

 8           (vi)    violations of the California Information Privacy Act (CIPA), Cal. Pen. Code §631.

 9 All claims are triable to a jury.
10           36.     California law applies to each of these six legal claims, because Google uniformly
11 adopts California law in its contracts (Google’s Terms of Service, Privacy Policies and related

12 documents) with its U.S. account holders and proposed class members. This allows for a manageable

13 class trial, as jurors will be instructed on a single state’s law – California – and that same law will

14 be applied to all claims of all proposed class members.

15           37.     Jurors also will be shown a uniform set of representations, all of which are applicable
16 to plaintiffs and all proposed class members, in the form of Google’s Terms of Service, its Privacy

17 Policies, and its related representations in its Google account holder agreements, in which Google

18 promises that it does not share or sell class members’ personal or sensitive information with anyone

19 outside of Google. This means that there are a core set of common representations and contractual

20

21    7
        Plaintiffs’ Complaint, filed September 2, 2021, asserted twelve individual and class claims. ECF
22    92. In a Case Management Order dated September 2, 2021, Judge Koh directed the parties to select
      eight claims from the twelve claims asserted to be litigated through trial, with plaintiffs selecting
23    four claims and Google selecting the other four claims. See ECF 83 at 1. The parties completed the
      process and filed a joint statement identifying those claims (with plaintiffs reserving all rights, see
24    ECF 91 at 2), which include the six claims for which plaintiffs now move for certification. The
      claims that remain in abeyance are count three (violations of the California Unfair Competition
25
      Law), count four (California Constitutional Invasion of Privacy), count nine (violations of the
26    Electronic Communications Privacy Act, and count twelve (violations of the Video Privacy
      Protection Act). The Court previously dismissed without prejudice plaintiffs’ claims for breach of
27    the implied covenant of good faith and fair dealing (count two), granting plaintiffs leave to move to
      amend this claim, following discovery, as appropriate. See MTD Order (ECF 233) at 10:11.
28

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 1 promises for jurors to consider with respect to all claims, all plaintiffs and all proposed class

 2 members.

 3              38.     At trial, plaintiffs will present expert testimony and evidence that Google’s RTB

 4 auctions are a fully automated process that operates in materially the same way at all times, and that

 5 involves Google sharing in bid requests with third parties the same common core set of information

 6 about class members and their computers. See, e.g., Shafiq Rep. at ¶¶ 28-35-43, 46. 8 Given the 7F




 7 entirely automated nature of Google’s RTB auctions, the testimony and evidence to be presented to

 8 jurors will be common to all proposed class members.

 9              39.     The core question of law and fact that jurors will need to determine – whether the
10 class member user data Google shares and sells in the automated Google RTB auctions is “personal

11 information” under Google’s contracts and California law – is common across the class. This

12 question necessarily will be decided based on the same evidence and testimony, and with respect to

13 the same law, for all proposed class members as it will for the individual plaintiffs. Such efficiencies

14 favor conducting a single class trial over individual adjudications. 9    8F




15              40.     Plaintiffs and plaintiffs’ experts will provide representative trial testimony about

16 their common experiences and the common impact of Google’s sharing and selling their user data

17 in Google’s RTB auctions. Given Google RTB’s fully-automated nature, such testimony will be

18 representative of the experiences and impact of Google RTB on class members generally.

19              41.     Plaintiffs also will provide expert trial testimony that will provide common class-

20 wide proof of damages and a fair and common method for allocating damages among class

21 members.

22              42.     Based on the above, as well as plaintiffs’ counsel’s trial experience, plaintiffs

23 estimate a class trial of this matter may be completed in a single proceeding comprised of twelve

24 (12) trial days (exclusive of jury selection), to be divided evenly between plaintiffs and Google.

25

26
      8
27     Further discovery may reveal additional common user data not yet produced in the representative
      data set Google has produced to date for the named plaintiffs.
28    9
          This is so irrespective of whether certification is granted under Rule 23(b)(2), (b)(3) or (c)(4).
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 1          43.     To streamline the trial, plaintiffs will seek to reach agreement with Google on certain

 2 stipulated facts in advance of trial. In accordance with this Court’s Standing Order Re: Pretrial

 3 Instructions in Civil Cases, plaintiffs also will seek to reach agreement with Google on issues

 4 affecting the conduct of trial, including such matters as the authenticity of documents produced by

 5 either party to the litigation, joint proposed jury instructions, a joint proposed verdict form, and a

 6 joint preliminary statement of the case.

 7          44.     Plaintiffs’ requested injunctive relief remedy (see ECF 92, Complaint, Prayer ¶ F, at

 8 130) will be tried to the Court, either in conjunction with or at the conclusion of any jury trial, in

 9 accordance with the Court’s preference on this issue. Consistent with this Court’s Standing Order
10 Re: Pretrial Instructions in Civil Cases, at least fourteen (14) days prior to the Pretrial Conference,

11 plaintiffs will lodge proposed Findings of Fact and Conclusions of Law on material issues related

12 to plaintiffs’ requested injunctive relief. At that time, or at such other time as the Court may direct,

13 plaintiffs also will propose for the Court’s appointment, an independent third-party responsible for

14 verifying that any injunctive relief awarded by the Court has been implemented by Google in a

15 timely and reasonable manner.

16          45.     Finally, prior to the Pretrial Conference, plaintiffs will propose to the Court a process
17 for finally resolving any claims that have been held in abeyance or dismissed without prejudice

18 (with leave to move to amend) for the reasons described in note 7, above.

19          I declare under penalty of perjury under the laws of the United States of America that the
20 foregoing is true and correct. Executed on this 14th day of July 2023 in Emeryville, California.

21

22                                                         /s/ Elizabeth C. Pritzker
                                                           Elizabeth C. Pritzker
23

24

25

26

27

28

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